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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                    LONDON DIVISION

 ROBERT MAY, as Administrator for the           )   Cause No. 6:09-165
 Estate of Thomas May, and CHRISTOPHER          )
 HALL, as Administrator for the Estate of       )
 Bradley Hall and MATTHEW BENJAMIN              )
 COOLEY,                                        )
                                                )
                        Plaintiff,              )
                                                )
        v.                                      )
                                                )
 FORD MOTOR COMPANY,                            )
                                                )
                        Defendant.

    FORD MOTOR COMPANY’S MEMORANDUM OF LAW IN SUPPORT OF ITS
    MOTION IN LIMINE TO EXCLUDE EVIDENCE OF DISSIMILAR ACCIDENTS

        Defendant Ford Motor Company (“Ford”) anticipates that the Plaintiffs will attempt to

 support their claims by offering evidence of other accidents or reported incidents involving Ford

 automobiles.     Indeed, their witness list includes several persons – previously undisclosed

 throughout discovery by the way – they reference as having been involved in other accidents and

 their exhibit list includes several documents referencing hearsay reports of other purported

 incidents. This evidence should be excluded for two primary reasons. First, evidence of other

 accidents is irrelevant and therefore inadmissible. Second, even if the evidence has some slight

 relevance, it should still be excluded pursuant to Fed. R. Evid. 403 because its probative value

 would be substantially outweighed by the danger of unfair prejudice, confusion of the issues, or

 waste of time.

        Beyond these primary reasons for exclusion, there are the additional reasons that the

 evidence upon which Plaintiffs intend to rely to attempt to demonstrate this potential similarity

 of other accidents and/or incidents constitutes inadmissible hearsay and, in many instances,
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 multiple hearsay. As well, for the Plaintiffs, their counsel and/or their experts to refer to such

 other accidents and/or reported incidents will result in the finder-of-fact drawing impermissible

 inferences and/or pyramiding one inference upon another in direct contravention of Kentucky

 law and the Federal Rules of Evidence.

   I.   Evidence of other accidents is irrelevant and therefore inadmissible.

        It is axiomatic that, a trial court serves a critical “gatekeeper” function in making

 evidentiary rulings, including determinations in limine. See, e.g., Berardi v. Village of Sauget,

 05-CV-0898-MJR, 2007 WL 433542 (S.D. Ill. 2007)(“[p]roperly filed motions in limine permit

 expeditious and evenhanded management of trial proceedings, permitting the court to serve as a

 gatekeeper by eliminating from consideration by the jury evidentiary submissions that ought not

 be presented to the jury because they clearly would be inadmissible for any purpose”). See also

 Goebel v. Denver & Rio Grande W. R.R. Co., 215 F.3d 1083, 1087 (10th Cir. 2000)(court’s

 gatekeeper role may be satisfied when asked to rule on, among other things, a motion in limine).

 This is particularly true in product liability cases, where the improper use of other

 accident/incident evidence may be extremely prejudicial to a defendant. See, e.g., Watson v.

 Ford Motor Co., 26786, 2010 WL 3543725, *8,*9 (S.C. Sept. 13, 2010)(trial court abused its

 discretion as a “gatekeeper” in failing to exclude evidence of prior incidents in which owners of

 Ford Explorers allegedly experienced sudden acceleration after they engaged the vehicles’ cruise

 control, which were dissimilar in terms of the model years of the vehicles’ manufacture and as to

 causation, and, in doing so, caused such extreme prejudice to Ford that the South Carolina

 Supreme Court felt compelled to reverse the jury verdict against Ford and enter judgment in its

 favor). See also Huckaby v. A.G. Perry & Son, Inc., 20 S.W.3d 194, 201-03 (Tex. App. Ct.

 1999)(trial court failed to discharge its obligations as a gatekeeper, by refusing to exclude



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 testimony and exhibits relating to 10 to 20 prior accidents at a highway crossover, where the

 proffered evidence, including the testimony of a Texas State Trooper, was insufficient to enable

 the Court to determine whether the prior incidents were “substantially similar” to the unique

 accident at issue and, in the process, prejudiced the party opposing its admission).

        The Sixth Circuit has clearly held that evidence of other accidents is irrelevant, and

 therefore inadmissible, unless the other accidents are “‘substantially similar’ to the one at issue.”

 Croskey v. BMW of N. Am., Inc., 532 F.3d 511, 518 (6th Cir. 2008) (citing Koloda v. Gen.

 Motors Parts Div., Gen. Motors Corp., 716 F.2d 373, 376 (6th Cir. 1983)); see also Fed. R. Evid.

 401; Fed. R. Evid. 402. The Plaintiffs have the burden of showing the substantial similarity

 between prior accidents and their own. Croskey, 532 F.3d at 518 (citing Lewy v. Remington

 Arms Co., 836 F.2d 1104, 1109 (8th Cir. 1988)). Thus, Ford respectfully requests that before the

 Plaintiffs introduce any evidence or make any reference to other accidents, they first be required

 to demonstrate to the Court—outside the presence of the jury—that the other accidents or

 reported incidents are substantially similar to their accident. Unless and until the Plaintiffs make

 such a demonstration, all evidence of other accidents should be ruled inadmissible. See Croskey,

 532 F.3d at 518.

  II.   Even if the evidence has some slight relevance, it should still be excluded pursuant
        to Fed. R. Evid. 403.

        Assuming for the sake of argument that the Plaintiffs will be able to establish the

 relevance of any other accidents, that evidence should still be excluded pursuant to Fed. R. Evid.

 403 because its probative value would be substantially outweighed by the danger of unfair

 prejudice, confusion of the issues, or waste of time. In this case, the probative value of other

 accidents would be minimal at best since that evidence would have little, if any, bearing on the

 questions of whether the Plaintiffs’ automobile had any defects and whether those particular

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 defects actually caused the Plaintiffs’ accident. And given that “the natural tendency of jurors is

 to believe that similar incidents have similar causes,” introduction of this evidence would

 undoubtedly raise a risk of unfair prejudice to Ford. Burke v. U-Haul Int’l, Inc., No. 3:03CV-32-

 H, 2007 WL 403588, at *1 (W.D. Ky. Jan. 31, 2007). Jurors, for example, might mistakenly

 believe that the mere presence of fractured coil springs in prior accidents is proof that there was a

 causal relationship between the coil springs and the accident at issue here. See id. at *2-*3.

 Moreover, evidence of other accidents might confuse the jury into thinking that the relevant issue

 is whether Ford automobiles have a history of accidents, not whether the Plaintiffs’ automobile

 had a defect that caused their accident. And finally, the presentation of evidence concerning

 other accidents would “create trials within the trial, as both parties attempt to explore the causes

 of the prior accidents and waste much time on collateral issues.” Id. at *2 (citing De Pue v.

 Sears, Roebuck & Co., 812 F. Supp. 750, 753 (W.D. Mich. 1992)).                   In light of these

 considerations, it is clear that evidence of other accidents should be excluded pursuant to Fed. R.

 Evid. 403.

 III.   This Court Must Exclude Other Incident Evidence Proffered by Plaintiffs as it
        Accounts to Hearsay and Multiple Hearsay Evidence That is Plainly Inadmissible.

        Many courts have relied on the evidentiary principles governing the inadmissibility of

 hearsay and multiple hearsay in excluding evidence of other accidents and/or incidents. See,

 e.g., Nissan Motor Co. v. Armstrong, 145 S.W.3d 131 (Tex. 2004). See also Johnson v. Ford

 Motor Co., 988 F.2d 573 (5th Cir. 1993).

        The Texas Supreme Court relied on hearsay evidentiary reasoning in excluding certain

 evidence of other accidents in Nissan Motor Co. v. Armstrong, 145 S.W.3d 131 (Tex. 2004).

 That case arose out of a single vehicle accident in which, allegedly as a result of sudden and

 unintended acceleration, the plaintiff’s 1986 Nissan 300ZX slammed first into a brick building


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 and then into a telephone pole, injuring the plaintiff. The plaintiff later filed suit against Nissan

 and, over its hearsay-based exceptions, introduced evidence of other accidents/incidents in the

 form of expert testimony from a mechanical engineer, testimony from four other owners who

 purportedly experienced similar unintended accelerations, 16 written reports of unintended

 accelerations, and a Nissan database that included 757 consumer complaints relating to sudden

 acceleration. Id. at 136. The jury returned a verdict, including an award of punitive damages, in

 favor of the plaintiff and Nissan appealed.       The intermediate appellate court affirmed the

 judgment, but the Texas Supreme Court reversed the judgment and ordered a new trial, based, in

 substantial part, on its holding that the trial court erred in admitting evidence relating to other

 accidents/incidents that it deemed to be inadmissible hearsay and/or hearsay within hearsay.

        The Armstrong Court began its analysis by emphasizing plaintiffs’ burden to establish the

 substantial similarity of the prior accidents/incidents it seeks to introduce and the “logical” and

 evidentiary limitations that apply to the proof that may be proffered in attempting to meet that

 burden. Among those limits are the rules governing the admissibility or inadmissibility of

 hearsay and/or hearsay within hearsay. Specifically, the Court held that the 757 third party

 consumer complaints that Nissan had received were inadmissible, in part, because they

 constituted hearsay or hearsay within hearsay (i.e., they were out-of-court statements proffered

 for the truth of the matters asserted therein, namely that “the incidents complained of occurred as

 reported,” which presumably were not submitted under oath and not subject to cross-

 examination) to which no recognized exception applied. Id. at 140-42.

        Moreover, the Court rejected, as “circular reasoning,” plaintiffs’ attempt to circumvent

 the hearsay rule by suggesting that such complaints were not being offered for the truth of the




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 matters asserted therein, but rather “to show Nissan’s knowledge of the truth of the matters

 asserted.” Id. The Court then went on to conclude as follows:

        . . . the erroneously admitted evidence . . . of other incidents was far more than
        cumulative: it was emphasized [by plaintiff’s counsel and her experts] at every
        opportunity; it was used to prove a defect when the actual evidence [pertaining to
        an alleged defect in the plaintiff’s vehicle had been destroyed; and it was
        calculated to show Nissan was malicious rather than mistaken in suggesting the
        accident was [plaintiff’s] fault. It also violated the long standing rule in Texas
        that proof of unintended acceleration is not proof of a defect. Under that rule,
        proof of many instances of unintended acceleration cannot prove a defect either;
        a lot of no evidence is still no evidence.

 Id. at 148 (emphasis in the original). Accordingly, the Court remanded the case for a new trial

 without the erroneously admitted other accident evidence. Id. See also Johnson, 988 F.2d at

 578-79 (where, in wrongful death action arising out of alleged defect in an inboard C.V. joint in

 a 1983 Ford Escort that purportedly caused the steering mechanism in the decedent’s car to

 freeze up, the Fifth Circuit held that the district court did not abuse its discretion in excluding

 other accident evidence comprised of, among other things, a summary of five prior lawsuits

 against Ford and four customer complaints, on the grounds that it constituted inadmissible

 hearsay (i.e., it was not, for example, a summary of Ford’s internal investigations and tests)).

                                          CONCLUSION

        Based on the foregoing arguments and authorities Defendant Ford Motor Company

 respectfully requests this Court enter an Order precluding the Plaintiffs, their attorneys and/or

 Plaintiffs’ experts, from introducing or attempting to introduce into evidence or making any

 reference to incidents, lawsuits, claims, and/or accidents other than the November 9, 2008




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 accident that forms a basis for Plaintiffs’ Complaint and that it grant Ford any and all such

 further relief to which it is entitled should such inappropriate evidence be mentioned.


                                                 FROST BROWN TODD LLC

                                                 By: /s/ Kevin C. Schiferl
                                                    Kevin C. Schiferl
                                                    Attorneys for Defendant FORD MOTOR
                                                    COMPANY




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                                       CERTIFICATE OF SERVICE

         I hereby certify that on this 3rd day of January, 2011, a copy of the foregoing was filed

 electronically. Notice of this filing will be sent to the following parties by operation of the

 Court’s electronic filing system. Parties may access this filing through the Court’s system.

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